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EMMETT VS. THALER C myn CAUSE #308 2219

MOTION FOR RULE 60(B) #3 & #6
1. Please consider petitioner’s expert report under rule 60 #2 & #3 & #6.

2. This is new evidence pursuant to Gonzales vs. Crobsy 126. Ct.
Pages 1685, 2103

   

NORTHERN DISTRICT OF
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Respectively submitted,

 

 

 

Barry Patrick Emmett II

JUNE 6, 2011

UNITED STATES DISTRICT COURT
1100 COMMERCE ROOM 14A20
DALLAS,T X. 75242
 

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Evaluation of the Case of Barry Patrick Emmett, II
I. Purpose and Conclusions

Barry Patrick Emmett, II, often called Patrick, was born 12.27.76. This report
will evaluate the mental effects on Mr. Emmett of taking chlorpromazine (Thorazine) 600
mg per day at the time of his sentencing hearing on 7.21.06. At that time, Mr. Emmett
had been diagnosed at various times with schizophrenia, bipolar disorder and psychosis,
and was described at times as suffering from hallucinations. The dose of 600 mg per day
is at the upper recommended limits (300-600 mg) for treating these disorders in modern
times.

Chlorpromazine is the original neuroleptic and antipsychotic drug, discovered in
France in 1952 and in use throughout the western world by 1954.” Because it is the
original and in many ways model antipsychotic drug, chlorpromazine’s effects on brain
and behavior have been most thoroughly studied in animals and humans. Like nearly all
of the drugs called antipsychotics, chlorpromazine blocks neurotransmission in a
particular system of neurotransmitters called dopamine. Dopamine nerves make up the
largest trunk of nerves projecting from deeper in the brain into the frontal lobes Blocking
these nerves reduces the function of the highest centers of the brain in the frontal lobes,
including both the ability and the motivation to weigh choices, to plan, to organize
thoughts, and to come to rational decisions. In particular, this suppression of the frontal
lobes results in apathy or indifference—an inability to care about oneself and one’s
situation, and an inability to assert oneself in a self-determined or autonomous fashion.

There is incontrovertible scientific and clinical evidence that chlorpromazine
produces lobotomy-like effects that compromise will power, reduce motivation and
produce psychological indifference, or apathy. These effects would be have been
significantly incapacitating at a dose of 600 mg per day in regard to Mr. Emmett asserting
his will power and making choices in everyday activities, let alone life-determining
decisions such as a plea bargain. These effects occur in normal or disturbed individuals
and even in animals, and would have occurred in Mr. Emmett regardless of his overall
mental condition or diagnosis at the time.

Anyone receiving this high dose of chlorpromazine would be significantly
impaired if not wholly impaired in regard to making independent or autonomous
decisions. Cognition, memory or understanding may be relatively intact; but spontaneous
activity, self-assertion, interest and involvement in one’s own activities and life, or
independent decision making and action will be reduced or crushed. In many cases,
robotic behavior is induced. The individual can initiate very little spontaneous activity,
and becomes docile and easily led.

This induction of apathy and this stifling of self-generated thought or activity is
well-known to clinicians who work with patients prescribed large doses of antipsychotic

 

" Decades ago, larger doses were sometimes used.

? The terms antipsychotic drug and neuroleptic drug will be used synonymously. The older term
“neuroleptic” meant “grabbing the neuron” and was intended to emphasize the neurotoxic effects of this
class of drugs.
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drugs. As we shall see, these effects have been frequently and graphically described in
the scientific literature for more than half a century.

Unlike other medications, the antipsychotic drugs can cause these subduing
effects on frontal lobe function without causing noticeable sedation or other apparent
signs of toxicity. In a situation in which an individual is expected to act in an inhibited,
controlled or docile fashion, such as during sentencing in a courtroom, the drug effects
may go unnoticed.

Sometimes these subduing mental effects are accompanied by a more obvious
slowing of bodily movements. The individual’s gait often becomes slightly stooped,
shuffling or stiff. Facial expressions may stiffen, so that the individual looks
expressionless. Especially at higher doses, the antipsychotic drugs frequently produce
this Parkinsonism syndrome in an obvious manner. However, when the individual is
shackled and led slowly in a somber fashion into the courtroom, the effects upon gait and
facial expression may not be so apparent.

Because this report is narrowly focused on the effects of this specific medication
dose on any individual, Mr. Emmett’s personal and alleged criminal history will not be
evaluated. I chose not to interview Mr. Emmett because his subjective impressions of his
condition were not necessary to reach a conclusion and I did not want to give the
mistaken impression that I was in any way relying upon them. Anyone receiving a daily
dose of 600 mg of chlorpromazine would suffer from the drug’s typical suppressive
effects upon mental life.

II. Background of the Expert

My Resume is also attached (Appendix A).

I am a psychiatrist licensed to practice medicine in New York State. I also have
inactive licenses in Virginia, Maryland, and Washington DC. I was in the full-time
private practice of psychiatry from 1968 to 2002, in Washington, DC and Maryland; and
in November 2002, I moved to Ithaca, New York, where I am continuing all of my
clinical and forensic activities. I am a Life Member of the American Psychiatric
Association. I have a special interest and expertise clinical psychopharmacology,
including medication adverse effects.

I have written more than 20 professional books and several dozen peer-reviewed
professional articles. A number of my books, book chapters, and professional articles
deal with adverse medication effects such as mental, behavioral, and neurological
abnormalities caused by medications, including those caused by the drug in this case,
chlorpromazine. Three of my medical textbooks specifically focus in depth on the
adverse effects of the chlorpromazine and similar drugs:

Breggin, P. Psychiatric Drugs: Hazards to the Brain (1983). New York:
Springer Publishing Company.

Breggin, P. Brain-Disabling Treatments in Psychiatry (1997). New York:
Springer Publishing Company.
 

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Breggin, P. Brain-Disabling Treatments in Psychiatry, Second Edition
(2008). New York: Springer Publishing Company.

Also specifically concerning the neuroleptic medication in this case, I have
written several peer reviewed scientific articles, including the following two:

Breggin, P. "Parallels between neuroleptic effects and lethargic
encephalitis: The production of dyskinesias and cognitive disorders."
Brain and Cognition 23:8-27, 1993. See Appendix B for complete article.

Breggin, P. "Brain damage, dementia and persistent cognitive dysfunction
associated with neuroleptic drugs: evidence, etiology, implications."
Journal of Mind Behavior 11:425-464, 1990. See Appendix C for
complete article.

I have special training and considerable forensic experience, and I have also
written extensively about interpreting scientific data concerning adverse drug effects,
including the use of the FDA’s spontaneous reporting system. In addition to my books,
the following peer reviewed article is especially relevant to those issues:

Breggin, P. "Analysis of adverse behavioral effects of benzodiazepines
with a discussion of drawing scientific conclusions from the FDA's
Spontaneous Reporting System." Journal of Mind and Behavior 19: 21-
50, 1998.

I also have considerable forensic and scientific experience in regard to the
interpretation of FDA labels and have written about this in numerous sources, including
these more recent articles:

Breggin, P. “Recent U.S., Canadian and British regulatory agency actions
concerning antidepressant-induced harm to self and others: A review and
analysis.” Ethical Human Psychology and Psychiatry, 7: 7-22, 2005.
Simultaneously published in the International Journal of Risk and Safety
in Medicine, 16:247-259, 2005.

Breggin, P. “Recent regulatory changes in antidepressant labels:
Implications for activation (stimulation) in clinical practice.” Primary
Psychiatry, 13, 57-60, 2006.

My work has influenced the FDA labeling of drugs and helped motivate the FDA
to require the manufacturers of all neuroleptics to place a class label for tardive
dyskinesia in the labels of their drugs.

I founded the peer-review journal Ethical Human Psychology and Psychiatry and
I am on the editorial board of several other journals as well, including the International
Journal of Risk and Safety in Medicine. 1 am frequently called upon to lecture or to
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consult on the subject of adverse drug effects, including chlorpromazine. For example, in
November 1998, I was invited by the National Institutes of Health (NIH) to be the
scientific presenter on adverse drug effects in children at the national Consensus
Development Conference on The Diagnosis and Treatment of Attention Deficit
Hyperactivity Disorder. I have been a consultant to the Federal Aviation Agency (FAA)
on the adverse effects of psychiatric drugs on pilots. In 2008 I was the primary witness
before the U. S. House of Representatives Committee on Veterans Affairs concerning the
hazards of prescribing psychiatric drugs to combat troops (video available on

www.breggin.com).

IH. Materials reviewed

Medical Record, Parkland Health & Hospital System at Dallas County Jails.

Psychiatric Evaluations by David Mackie, RN, MN, ANP at ADAPT, 3.25.05,
4.14.05, 5.19.05.

Psychiatric Evaluation by Lisa K. Clayton for a report to the court. Undated. Fax
stamp and cover letter dated 6.28.06.

Letter to attorney Lalon Peale from Lisa K. Clayton, MD, June 6, 2006.

Letter from Charles Kasbarian, MD, addressed to “To Whom It May Concern,”
4.7.06.

Petition for a Write of Habeas Corpus, Barry Patrick Emmett, II, Petitioner, vs.
Nathanial Quarterman, Director, Texas Department of Criminal Justice, Institutional
Division.

Affidavits of Jackie Lane, Kelly Williams, W. T. Williams, Sr., Barbara A.
Williams, Barry Emmett (father), and Mireille Emmett (mother). Also, non-affidavit
statement of Dolores E. Jones (aunt).

IV. Evidence that Mr. Emmett was Taking Chlorpromazine at the Time of his
Sentencing Hearing on July 21, 2006

Early in 2005 Mr. Emmett was placed on a variety of medications, including
briefly on chlorpromazine. Later in the year he was prescribed the drug on a regular
basis through the time of the hearing.

At ADAPT on 7.16.05 Mr. Emmett was reported to be on chlorpromazine 100 mg
twice a day, along with other psychiatric drugs. On 7.20.05 he returned to the clinic with
severe abnormal movements almost certainly due the chlorpromazine. The note said, “Per
Dr. Reid-EPS classic for Thorazine.”

EPS stands for Extrapyramidal Symptoms. These are caused by the same
blockage of dopamine nerves that simultaneously causes the mental apathy and
indifference. The term EPS often includes the Parkinsonian syndrome with shuffling or
stiff gait and flatted facial expression that were described in Part I of this report. His dose
at this time was one-third the size of the dose he would be taking at the hearing.

The drug was discontinued. On 7.20.05 a mental health form confirmed
“Thorazine locks up jaw even with Cogentin.” This indicates that the chlorpromazine
(Thorazine) remained toxic to his nervous system even when he was treated with a
medication, Cogentin, which tends to relieve the symptoms.
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Mr. Emmett’s adverse drug reactions continued on other neuroleptics. On 8.7.05
the Thorazine was restarted at 100 mg twice a day. Despite adverse reactions, he was
continued on Thorazine 100 mg twice a day as indicated by notes on 8.20.05 and 9.7.05.
However, he continued to have manic symptoms. These manic symptoms were probably
caused or exacerbated by the unfortunate simultaneous prescription of nortriptyline, an
antidepressant that causes manic symptoms. To control these symptoms, Mr. Emmett’s
dose of chlorpromazine was doubled to 200 mg twice a day on 10.20.05. The medical
record indicates that he was continued on this dose on 10.26.05, 11.2.05, and 1.2.06.

On 1.29.06 Mr. Emmett continued to suffer from manic symptoms, including
“racing thoughts,” almost certainly caused or exacerbated by nortriptyline. At this time
on 1.29.06 the antidepressant was finally discontinued and the dose of chlorpromazine
was increased. The following is the exact instruction in the jail medical record: “Increase
dose Thorazine [chlorpromazine] 300 mg 3 BID # 180.” This dose (three 300 mg tablets
twice a day) would have given him an overdose of 1800 mg but was hopefully not
implemented. The intent was probably to order 300 mg twice a day for a total of 600 mg.
It is possible that he did briefly endure an accidental massive overdose at this time; but
the intended dose was more than sufficient to produce the drug’s typical subduing effects
on mental life.

On 3.2.06 Mr. Emmett was described as taking chlorpromazine 300 mg twice a
day for a total of 600 mg per day. Subsequent medical record notes indicated that he
remained on this dose on 3.20.06, 3.22.06, 4.19.06, 4.20.06, and 6.14.06.

On 6.28.06 a Psychiatric Evaluation by Lisa K. Clayton stated, “Understands
charges against him.” Dr. Clayton remarked, without noting the dose, “He currently is
being given Thorazine in the Dallas County Jail and he stated it helps him sleep.” In
reality, he was being treated for manic or psychotic symptoms and being given a much
larger dose than would be used for sleep. Dr. Clayton’s conclusions are compromised by
her apparent lack of knowledge concerning the large dose of chlorpromazine that the
patient was taking.

As described in detail in Part I, and as scientifically confirmed in Part IV below, it
is not surprising that Mr. Emmett was found to “understand” the charges against him.
The ability to understand a concept sufficiently to explain it to an interviewer is not likely
to be grossly impaired by chlorpromazine. The ability to fully involve oneself or to assert
oneself in regard to that understanding would be wholly undermined on 600 mg per day
of chlorpromazine.

On 7.21.06 Mr. Emmett made his court appearance for sentencing.

On 7.31.06 the Dallas County Jail Mental Health Follow Up diagnosed Mr.
Emmett with “psychosis NOS [not otherwise specified]” and continued him on 600 mg
per day of Thorazine.

This documentation from the jail medical record brackets the time of his
sentencing and confirms that Mr. Emmett was taking a large dose of chlorpromazine 600
mg per day at the time of the sentencing. He had been exposed to this large dose for
approximately six months. It also indicates that the dose had at times caused the
expected significant and obvious neurological symptoms called EPS. It also indicates
that the psychiatrist who declared that Mr. Emmett understood the charges against him
had no idea that he was taking a very large dose of a drug that produces indifference, lack
of motivation and reduced free will. Furthermore, in a setting in which docility is
 

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expected—a psychiatric evaluation during incarceration—Mr. Emmett’s lack of self-
determination would not have been immediately apparent without clinical probing. Also,
it is entirely possible that Mr. Emmett understood or comprehended the charges against
as reflected in his ability to explain or to describe them to an interviewer; but he was
unable to come to decisions on his own behalf and to fully exert his will or to pursue his
bests interests in his legal case and in the courtroom. In short, there is a huge difference
between being able to explain and idea or a concept when asked to do so and being able
to act upon that knowledge in a self-determined, autonomous and self-interested manner.

V. Chlorpromazine (Thorazine) Diminishes Motivation, Autonomy, Spontaneous
Activity, and the Capacity to Assert Oneself

A. Clinical and Scientific Descriptions of Chlorpromazine Effects on Patients

Chlorpromazine (Thorazine) was first introduced into North America in 1954. As
a result, the most in depth reports concerning its clinical effects appear in the mid- to late
1950s. These clinical descriptions remain valid today. The following review of the
scientific literature is modified from my medical book, Brain-Disabling Treatments in
Psychiatry, Second Edition (2008), as well as from two of my scientific peer-reviewed
articles (Breggin 1993 and 1990; reproduced in Appendices B and C). ©

I have described these effects as “deactivation” (Breggin, 2008, pp. 21-44) of the
frontal lobes with resultant indifference and lack of motivation or will power.

The term deactivation will be used to designate a continuum of
phenomena variously described as disinterest, indifference, diminished
concern, blunting, lacking of spontaneity, reduced emotional reactivity,
reduced motivation or will, apathy, and, in the extreme, a rousable stupor.
(Breggin, 2008, p. 32).

As noted in Part I, chlorpromazine is the original antipsychotic or neuroleptic
drug, and so its effects have been studied in much more depth than later drugs in the same
class. The very first report on the psychiatric use of chlorpromazine was published in
France by Delay and Deniker (1952; translated in Jarvik, 1970). Their article described
the actual state of the medicated patient for a medical world that as yet had no familiarity
with the drug:

Sitting or lying, the patient is motionless in his bed, often pale and with
eyelids lowered. He remains silent most of the time. If he is questioned, he
answers slowly and deliberately in a monotonous, indifferent voice; he
expresses himself in a few words and becomes silent. (Jarvik, 1970)

They also described the patient as “fairly appropriate and adaptable. . . . But he
rarely initiates a question and he does not express his anxieties, desires or preferences”
(Jarvik, 1970). As Delay and Deniker put it, there is an “apparent indifference or the
slowing of responses to external stimuli” and “the diminution of initiative and anxiety”
(Jarvik, 1970).
 

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In a retrospective, the co-pioneer in the field, Deniker (1970), further emphasized
what he considered to be the primary impact of chlorpromazine, the drug he had helped
to discover:

But the impact of the most significant finding was not immediately
recognized. It was the characteristic psychomotor indifference that
chlorpromazine caused in treated subjects. Later, it was classified as
akinesia. (italics added, p. 158).

As a result of this drug-induced “indifference,” the individual, such as Mr.
Emmett, may appear normal, especially in a highly controlled setting where compliance
is expected. Nonetheless, he is fundamentally changed and vastly limited in regard to
motivation and free will.

Lehmann and Hanrahan (1954) published the first article in English promoting its
psychiatric use. They stated:

The aim is to produce a state of motor retardation, emotional indifference,
and somnolence, and the dose must be increased accordingly as tolerance
develops.

The doses required for achieving “retardation,” “emotional indifference,” and “lethargy”
in this study rarely exceeded 800 mg/day, and sometimes did not exceed 100 mg/day.
Mr. Emmett was on 600 mg per day.

Lehmann and Hanrahan (1954) go on to say:

The patients under treatment display a lack of spontaneous interest in the
environment . . . they tend to remain silent and immobile when left alone
and to reply to questions in a slow monotone. . . . Some patients dislike the
treatment and complain of their drowsiness and weakness. Some state
they feel “washed out,” as after an exhausting illness, a complaint which is
indeed in keeping with their appearance.

Lehmann and Hanrahan (1954) recognized that they were suppressing their
patients without specifically affecting or improving symptoms such as hallucinations and
delusions: “We have not observed a direct influence of the drug on delusional symptoms
or hallucinatory phenomena.”

The following year, Lehmann (1955) published his second article on
chlorpromazine. With relatively small doses, he found the primary brain-disabling effect:
“Many patients dislike the ‘empty feeling’ resulting from the reduction of drive and
spontaneity which is apparently one of the most characteristic effects of this substance.”
He also spoke of “lassitude” and compared the effects to lobotomy: “In the management
of pain in terminal cancer cases, chlorpromazine may prove to be a pharmacological
substitute for lobotomy.”

 

3 As noted in Part I, several decades ago the maximum dose of chlorpromazine was sometimes higher than
600 mg per day. Most of the patients in this study were receiving similar or lower doses than the 600 mg
given to Mr. Emmett, and many received much lower doses.
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The first British report concerning chlorpromazine as a psychiatric treatment
(Anton-Stephens, 1954) confirmed the impact of the drug using small doses (200
mg/day), one-third the dose given to Mr. Emmett. Anton-Stephens called it “psychic
indifference” and again compared it to lobotomy:

Psychic indifference. This is perhaps the characteristic psychiatric
response to chlorpromazine. Patients responding well to the drug have
developed an attitude of indifference both to their surroundings and their
symptoms best summarized by the current phrase "couldn't care less." (p.
550)

Throughout the 1950s, some psychiatric texts continued to accurately describe the
impact of the neuroleptics on the mind. Here, for example, is the lobotomy-like clinical
picture of maximum benefit described by Noyes and Kolb in the 1958 edition of Modern
Clinical Psychiatry:

If the patient responds well to the drug, he develops an attitude of
indifference both to his surroundings and to his symptoms. He shows
decreased interest in and response to his hallucinatory experiences and a
less assertive expression of his delusional ideas. (p. 654, italics added)

This chemical straitjacketing, including flattening of emotion and motivation, has
been called “akinesia” —technically meaning a lack of movement. It is one of the EPS
side effects described in Part I and Part IV of this report and is associated with the
slowing of mental processes that impedes decision making. Mayerhoff and Lieberman
(1992) reported that the antipsychotic drugs caused a lobotomy-like “frontal lobe
syndrome... consisting of affective flatness along with reduced motor and cognitive
activity” (p. 129). They reviewed the scientific literature concerning loss of spontaneity
and “apathy and difficulty with initiating usual activities,” adding “It often goes
unrecognized” (p. 128). These descriptions apply to the medication-induced incapacity
of an individual like Mr. Emmett in regard to initiating efforts to advance his own
interests with his lawyer and in the judicial hearing.

In clinical discussions, the lobotomy-like effects of the neuroleptics or
antipsychotics are now sometimes subsumed under neuroleptic-induced deficit syndrome
(NIDS). Malcolm Lader (1993), chairperson of an international symposium on the
subject, wrote:

The benefits of treatment with classical neuroleptics are, however,
obtained at the expense of a number of side effects, and many patients
frequently complain of feeling “drugged” or drowsy and of being unable
to concentrate; they lack motivation and are emotionally unresponsive:
they also appear slow-moving and physically rigid. Some patients have
complained of “feeling like a zombie.” (p. 493)

In a paper titled “Neuroleptics and the neuroleptic-induced deficit syndrome,”
Lewander (1994a) and colleagues summarized:
 

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The first central pharmacodynamic action of chlorpromazine to be
described was sedation without narcosis. The antipsychotic action and
extrapyramidal symptoms were observed later. Sedation can be separated
into nonspecific sedation (drowsiness, somnolence) and specific sedation
(psychomotor inhibition and psychic indifference). Both types are parts of
the clinical profiles of classical neuroleptics. (p. 8).

In another paper, Lewander (1994b) described these effects as “the neuroleptic-
induced deficit syndrome, commonly experienced with classical neuroleptics” (italics
added, p. 64). It should be emphasized that these effects are “commonly experienced
with classical neuroleptics.” Chlorpromazine is the epitome of the classical neuroleptic.

“Psychomotor inhibition and psychic indifference” are the key lobotomy-like
effects that would have rendered Mr. Emmett, or anyone else, relatively unable to act
upon his own behalf or to exert their volition.

In 1996 Jain devoted a section of his book to Neuroleptic-Induced Deficit
Syndrome (NIDS), describing it as a syndrome that includes impairment of cognitive
function (p. 138).

In 2007 psychiatrist J. Moncrieff reviewed my analysis of neuroleptic
deactivation and confirmed its scientific validity. Moncrieff cited some of the literature
that is also reviewed in this report and specifically noted the relationship to “frontal
lobotomy” and “psychic indifference” (2007, p. 175).

In 2008 in the American Psychiatric Press Textbook of Psychiatry (Martinez et al.,
2008) continued the same basic observations under the subject of neuroleptic-induced
“akinesia:”

Akinesia is a behavioral state of diminished spontaneity characterized by
decreased gestures, unspontaneous speech, apathy, and difficulty with
initiating unusual activities. P. 1089

B. Chlorpromazine Impacts the Brain in a Similar Fashion in All People and
Animals

As noted in Part I, these mentally disabling effects of chlorpromazine are not
specific to an individual’s mental condition or even specific to the human species. The
drug effect is caused by a direct impact on the normal (or abnormal) mammalian brain,
involving inhibition of dopaminergic nerves—the main nerve pathway to the frontal
lobes (Minzenberg, Yoon and Carter, 2008, p. 438; Martinez, Marangell, and Martinez,
2008, p. 1085; Breggin, 1990, 1993 & 2008).

Therefore, the drug effect is not specific for any disorder, such as schizophrenia,
and affects normal individuals and even animals in an essentially like manner, by
suppressing dopaminergic function in the brain. These drugs are used in a variety of
settings to induce docility or placidity, including mental hospitals, prisons, and even in
veterinary medicine (Breggin, 2008, pp. 38-40). None of the many studies cited in Part
IV of this section found any difference in the drug effect that depended upon the mental
condition or diagnosis of the individual. Although some professionals claim that these
 

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drugs also have a specifically suppressive impact on psychotic symptoms, this is
controversial. Meanwhile, there can be no doubt that medications like chlorpromazine
reduce spontaneity, reduce autonomy, and reduce the ability to generate normal decision-
making and action.

Writing in the most authoritative pharmacology textbook of the time, J arvic
(1970) summarized that neuroleptics produce indifference and "taming" in every species
of animal studied. In the same vein in a later edition, Baldessarini (1985) stated that
"Nearly all of the neuroleptic agents used in psychiatry can diminish spontaneous motor
activity in every species of animal studied, including man" (p. 394). More specifically, he
noted that "Exploratory behavior is diminished, and responses to a variety of stimuli are
fewer, slower, and smaller" (p. 394).

Even normal volunteers suffer from the same chlorpromazine effects. Ina 1991
editorial in Biological Psychiatry titled “Neuroleptic Dysphoria,” Emerich and Sanberg
described various adverse emotional reactions to neuroleptics, including “cognitive
blunting.” The editorial describes the experimental self-administration of the neuroleptic
haloperidol by Belmaker and Wald (1977), in which each of these “normal experimental
subjects” “complained of a paralysis of volition, lack of physical and psychic energy. The
subjects felt unable to read, telephone or perform household tasks of their will, but could
perform these tasks if demanded to do so.” The editorial also mentioned reports of other
mind-subduing effects, including “chemical straightjacketing,” “lack of motivation,” and
a feeling “like a shade coming down.”

Thus, the scientific literature is unequivocal in describing how chlorpromazine,
even at much lower doses than given to Mr. Emmett, commonly produces a condition of
apathy, indifference, lack of motivation, lack of spontaneous activity and lack of
autonomy or self-determination that would render an individual incapable to making
valid decisions in regard to important life events. It further confirms that these effects
can easily go unnoticed. Like Mr. Emmett, the individual given neuroleptics may be able
to respond to requests or guidance, while remaining limited in regard to motivation or
initiative.

VI. Affidavits and Statements Describing Mr. Emmett’s Mental Condition in Court

I did not rely on these statements in coming to my initial conclusions and did not
need them to come to my final conclusions. The fact of Mr. Emmett was taking 600 mg
of chlorpromazine at the time of his sentencing hearing was sufficient for me to
determine beyond a reasonable degree of medical certainty that he would have been
suffering from the lobotomy-like deactivation with suppressed emotions, motivation and
will. However, the affidavits do confirm the descriptions of chlorpromazine effects that I
have reviewed from the scientific literature, bolstered by my clinical observations.

(1) Jackie Lane, Mr. Emmett’s aunt, reported that she saw Mr. Emmett in jail
prior to the hearing and then again at the hearing on July 21, 2006, and that she and the
family were “stunned by Patrick’s debilitated state.” She attributed his condition to
Thorazine over-medication. She said that, before being asked, she told the attorney
“Patrick was not Patrick” in the courtroom.
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(2) Kelly Williams, Mr. Emmett’s cousin, described Mr. Emmett’s condition in
court as “zombie-like.” She believed he was in no position to make “such important
decisions about his future.” Notice that the term “zombie-like” also appeared in my
review of the scientific literature as a description of chlorpromazine effects (see top of
page 9, above).

(3) W. T. Williams, Mr. Emmett’s uncle, was present at the sentencing hearing.
He described Mr. Emmett as “disinterested,” another word or concept that frequently
used to describe chlorpromazine effects in the scientific literature.

(4) Barbara A. Williams, Mr. Emmett’s aunt, was also present at the hearing. She
stated, “...Patrick looked and behaved as though he was in a trance. When he spoke, his
speech was flat-monotone. He had a detached demeanor and appeared in a stupor.” This
is an exact clinical description of the appearance of an individual under the influence of
600 mg of chlorpromazine per day.

(5) Barry Emmett, Mr. Emmett’s father, was “shocked” by his son’s appearance
at the hearing and felt that he was “not mentally capable of understanding the gravity” of
the situation. He did not provide details concerning his appearance.

(6) Mireille Emmett, Mr. Emmett’s mother, was at the hearing. She stated, “He
was obviously on some sort of mood altering medication that had even altered his
physical appearance. He was bloated, lethargic and basically stupefied.” The words
“lethargic” and “stupefied” frequently appear in the literature describing chlorpromazine
effects.

(7) Dolores E. Jones describes Mr. Emmett as “shuffling” into the courtroom.
This could have been caused or exacerbated by shackles but as noted earlier in this report,
it also describes a very typical chlorpromazine neurological effect (an EPS). It looked to
her as if he had a “lobotomy,” which is a remarkably accurate observation, since the drug
causes similar effects by blocking frontal lobe function.

To a remarkable degree, descriptions of Mr. Emmett’s appearance and behavior
on the day of the hearing are entirely consistent with an individual who is suffering from
the severe adverse mental and behavioral effects routinely associated with taking
chlorpromazine 600 mg per day. The descriptions of Mr. Emmett actually contain words
and concepts commonly found in the scientific literature.

VII. Conclusions

The following conclusions are made beyond a reasonable degree of medical
certainty.

From 7.16.05 through his sentencing hearing on 7.21.06 Mr. Emmett was
continuously taking the antipsychotic or neuroleptic drug chlorpromazine (Thorazine).
Starting in 1.29.06 through the sentencing hearing Mr. Emmett was prescribed 600 mg
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per day of the medication. This is the maximum adult dose for the treatment of psychosis
which ranges from 300 mg to 600 mg (American Psychiatric Press, 2008, p. 1086).

Initially given in smaller doses for sleep, the drug was eventually given to him at
various times for schizophrenia, bipolar disorder and psychosis.

The medication prescribed to Mr. Emmett in large doses—chlorpromazine
(Thorazine)—has been known since its initial use in the mid-1950s to cause lobotomy-
like indifference, loss of spontaneity or difficulty in initiating customary activities.
Sometimes this has been discussed as a medication-induced lobotomy effect and at other
times as a medication-induced akinesia or a Neuroleptic-Induced Deficit Syndrome
(NIDS). As Lader described, in the extreme the effect becomes “zombie-like.” I have
described the syndrome as “deactivation” in the scientific literature. Sometimes, but not
always, the syndrome includes a suppression of movements—resulting, for example, in
shuffling—as well as a suppression of emotions and motivation.

As noted in the scientific studies reviewed in this report and confirmed by clinical
experience, an individual like Mr. Emmett taking the maximum 600 mg of
chlorpromazine per day could not truly represent or express his self-generated,
autonomous wishes in discussions leading up to his plea bargain or in a courtroom
setting. Furthermore, his mental deficit in this regard might not be obvious or easily
recognized, even by a trained professional observer, especially under courtroom
conditions of physical and emotional restraint. The drug-induced docility and passivity
would be mistakenly evaluated as voluntary cooperation. However, in Mr. Emmett’s case
the drug effects were sufficiently obvious to be recognized and accurately described by
those in the courtroom who knew him. This is not surprising given that he was prescribed
the maximum dose of 600 mg per day and had been taking it continuously for six months.

It is not surprising that a psychiatric evaluation concluded that Mr. Emmett
“understood” the charges against him. Chlorpromazine and other antipsychotic drugs do
not grossly impair cognitive ability such as understanding and memory. Instead,
chlorpromazine in large doses causes marked apathy and indifference and disables the
individual’s capacity to make autonomous or self-determined decisions

Mr. Emmett had various diagnoses including schizophrenia, bipolar disorder and
psychosis with hallucinations. However, the science reviewed in this report makes clear
that chlorpromazine drug effects are independent of an individual’s mental condition and
even independent of the individual’s species. Individuals diagnosed with severe mental
disorders, as well as normal human volunteers and animals, develop the same apathy and
indifference, and loss of spontaneous activity. In Mr. Emmett’s case, he received a dose
of sufficient size to profoundly deactivate or subdue anyone’s mental processes and
behavior.

In conclusion, at the time of his sentencing hearing on 7.21.06, Mr. Emmett had
been prescribed the maximum dose of chlorpromazine, 600 mg per day, for the previous
six months up to and including the day of the trial. Without exception, this maximum
dose of chlorpromazine would produce a disabling degree of apathy and indifference,
vastly reducing anyone’s ability to make decisions, to generate his own opinions, or to
assert himself on his own behalf. The medication slowed down Mr. Emmett’s mental and
physical processes, making him sluggish, and it suppressed his emotions, making him
unable to actively participate in critical life decisions. This dose of 600 mg of

 
 

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chlorpromazine per day would render any individual unable to actively pursue or to
effectively assert his interests with his lawyer or at a judicial hearing.

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Bibliography

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chlorpromazine. Journal of Mental Science, 100, 543-557.

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L. Goodman. T. Rail, & F. Murad (Eds.). The Pharmacological Basis of Therapeutic, pp.
387-445. New York: Macmillan.

Belmaker, R., and Wald, D. (1977). Haloperidol in normals. British Journal of
Psychiatry, 131, 222-223.

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associated with neuroleptic drugs: Evidence, etiology, implications. Journal of Mind and
Behavior, 11, 425-464.

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The production of dyskinesias and cognitive disorders. Brain and Cognition, 23, 8-27.

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York: Springer Publishing Company

Delay, J., and Deniker, P. (1952). Le traitement des psychoses par une methode
neurolytique derivee de I'hybernotherapie. Congres des Medecins Alienistes et
Neurologistes de France, 50, 497-502.

Deniker, P. (1970). Introduction of neuroleptic chemotherapy into psychiatry. In F. Ayd ,
Jr . and B. Blackwell (Eds.), Discoveries in Biological Psychiatry, pp. 155-164.
Philadelphia: J. B. Lippincott.

Emerich, D., and Sanberg, P. (1991). Editorial: Neuroleptic dysphoria. Biological
Psychiatry, 29, 201-203.

Jain, K. (1006). Drug-Induced Neurological Disorders. Seattle: Hogrefe & Huber.
Jarvic, M.E. (1970). Drugs used in the treatment of psychiatric disorders. In L.
Goodman and H. Gilman (Eds.), The Pharmacological Basis of Therapeutics (4th

edition). New York: Macmillan.

Lader, M. (1993). Neuroleptic-induced deficit syndrome. Journal of Clinical Psychiatry,
54, 493-500.

Lehmann, H. E. (1955). Therapeutic results with chlorpromazine (Largactil) in
psychiatric conditions. Canadian Medical Association Journal, 72, 91-99.
 

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psychomotor excitement and manic states. Archives of Neurology and Psychiatry, 71,
227-237.

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Psychiatr Scand Suppl. 380, 8-13.

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observations with remoxipride. Acta Psychiatr Scand Suppl. 380, 64-7.

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S. Yudofsky, and G. Gabbard (Eds.). Textbook of Psychiatry, pp. 1053-1131.
Washington, DC: American Psychiatric Press.

-Minzenberg, M., Yoon, J., and Carter, C. (2008). Schizophrenia. In R. Hales, S.
Yudofsky, and G. Gabbard (Eds.). Textbook of Psychiatry, pp. 407-456). Washington,
DC: American Psychiatric Press.

Moncrieff, J. (2007). Understanding psychotropic drug action: The contribution of the
brain-disabling theory. Ethical Human Psychology and Psychiatry, 9, 170-179.

Noyes, A. P., and Kolb, L. C. (1958). Modern Clinical Psychiatry (Sth ed.). Philadelphia:
Saunders.

Appendices

A. Resume of Peter R. Breggin, MD

B. Breggin, P. R. (1993). Parallels between neuroleptic effects and lethargic encephalitis:
The production of dyskinesias and cognitive disorders. Brain and Cognition, 23, 8-27.

C. Breggin, P. R. (1990). Brain damage, dementia and persistent cognitive dysfunction
associated with neuroleptic drugs: Evidence, etiology, implications. Journal of Mind and
Behavior, 11, 425-464.
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Resume and Bibliography
Peter R. Breggin, M.D.

I. BACKGROUND HIGHLIGHTS

Harvard College (Cambridge) (1954-58):
Graduated with Honors
Directed Harvard-Radcliffe Mental Hospital Volunteer Program.

Research grants from Harvard Medical School and the National Institute of
Mental Health (NIMH).

Co-authored 1" professional book, College Students in a Mental Hospital (1962).
Case Western Reserve School of Medicine (Cleveland) (1958-1962):

Conducted four years of psychopharmacology lab research with controlled animal

trials supported by NIMH grant, resulting in first two published papers in

psychopharmacology.

Special four-year individual tutorial with pediatrician Benjamin Spock, M.D.
Diplomat, National Board of Medical Examiners (1963):

Highest grade in country (99%) on psychiatry portion of boards used to qualify
for medical licenses.

Massachusetts Mental Health Center (Boston) (1963-64):
First Year Resident in Psychiatry at the main Harvard teaching hospital.
Teaching Fellow at Harvard Medical School.

State University of New York Upstate Medical Center (Syracuse) (1962-63, 1964-66):
Intern in Mixed Medicine and Psychiatry.

Second and Third Year Resident and Teaching Assistant in Psychiatry.
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Breggin Resume Summary, p. 2
National Institute of Mental Health (NIMH) and U, S. Public Health Service Officer
(Charlottesville, VA and Bethesda, MD) (1966-68):

Full-time NIMH Consultant in Building and Staffing Community Mental Health
Centers (1966-67).

Full-time NIMH Consultant in Mental Health and Education (1967-68).
University of Maryland (1968-1970):
Faculty, courses in counseling department.

Washington School of Psychiatry (1968-1972):

Faculty, courses for school counselors.

George Mason University (1990-96):

Adjunct Professor of Conflict Analysis and Resolution, courses on brain and
behavior.

Johns Hopkins University (1996-99):

Faculty Associate in the Department of Counseling and Human Services, courses
including psychopharmacology and diagnosis in psychiatry.

State University of New York (SUNY), Oswego (2007-2008, 2010-present):

Visiting Scholar in the Department of Education, Division of Counseling and
Psychological Services, courses including psychopharmacology and psychotherapy

(2007-2008).
Adjunct Professor, course on Empathic Therapy (2010-present).

I, HIGHLIGHTS OF PROFESSIONAL ACTIVITIES

Private Practice of Psychiatry, Ithaca, New York. (2003-present):

In November 2002, all of my professional activities (see below) moved to Ithaca,
New York.

Private Practice of Psychiatry, Washington, DC and Bethesda, MD. (1968-2002):

Full-time private practice with individuals, couples and families with children.

 

Subspecialty clinical psychopharmacology and the drug approval process.
 

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Breggin Resume Summary, p. 3

Founder and Director. Center for the Study of Empathic Therapy. Education and Living

(www.empathictherapy.org). 2010-present:

This new nonprofit organization led by Dr. and Mrs. Breggin has a large Advisory
Council that includes many psychiatrists, neurologists, psychologists, social
workers and counselors, including professors and heads of department. Many
public advocates and interested citizens also participate. The Center offers a free
newsletter, a professional network, and an annual Empathy Therapy Conference.
Dr. Breggin's many decades of reform work have led others to call him "The
Conscience of Psychiatry." He continues his reform work with renewed emphasis
on finding better, empathic approaches to helping children and adults in emotional

distress.

Founder and Director, International Center for the Study of Psychiatry and Psychology

(1972-2002) and Director Emeritus (2002-2010):

Dr. Breggin, joined by his wife in the 1980s, developed this first professional
organization devoted to psychiatric reform.

Editor-in-Chief (1998-2002) and Founding Editor and Consultant (2002-present) of
Ethical Human Sciences and Services: An International Journal of Critical Inquiry. Now

entitled Ethical Human Psychology and Psychiatry.

Founded and edited a peer-reviewed journal with 40 contributing editors
published by Springer Publishing Company.

Psychiatric Consultant (2010-present)

Integrative Counseling Center, Inc., Oswego, New York (a private clinic)

Editorial Consultant:

International Journal of Risk and Safety in Medicine

The Psychotherapy Patient

Journal of Critical Psychology, Counselling and Psychotherapy: Journal of the
Psychology and Psychotherapy Association

The Humanistic Psychologist

Journal of Mind and Behavior

Hospital and Community Psychiatry (reviewer in past)

Scientific Presenter at Conferences, Grand Rounds, Universities:

 

Selected Recent Presentations
U.S. House of Representatives, Committee on Veterans Affairs, February

24, 2010, Washington, DC, Hearings chaired by Rob Filner (D-CA) on
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Breggin Resume Summary, p. 4

“Exploring the Relationship Between Medication and Veteran Suicide,” 35-
minute lead off testimony on “Antidepressant-Induced Suicide and Violence: Risks for
Military Personnel.” Audio of complete hearings and written presentations
available on www.breggin.com.

17" Annual International Military and Civilian Combat Stress Conference,
Los Angeles, May 1-2, 2009. Pre-conference full-day workshop on “Clinical
Psychopharmacology: Efficacy and Alternatives” and Plenary on “Does
Psychiatric Medication Increase the Risk and Prevalence of Suicide?”

Past Presentations

Hundreds of invited scientific presentations on psychopharmacology,
shock treatment, psychosurgery, psychotherapy, and legal issues, including to the
National Institutes of Health (NIH) Consensus Development Conferences on
Diagnosis and Treatment of Attention Deficit Hyperactivity Disorder (November
1998); the NIH Consensus Development Conference on Electroconvulsive
Therapy (1985); National Institutes of Health Panel on NIH Research on Anti-
social, Aggressive and Violence-related Behaviors and Their Consequences
(1994); National Institute of Mental Health (NIMH) Guest Speakers Program;
U.S. House of Representatives Committee on Education (September 2000);
American Psychiatric Association; NIH Institute on Hospital and Community
Psychiatry; American Psychological Association; American Orthopsychiatry
Association; American Autism Society; American Association for the
Advancement of Science; American Counseling Association, Connecticut
Psychiatric Society Residents Program, Harvard University School of Education
Special Lecture; Georgetown University School of Medicine Department of
Pharmacology; New Jersey Medical School Department of Psychiatry Annual
Medical Forum; Walter Reed Army Hospital Psychiatric Residency Program;
National Naval Medical Center; Metropolitan Hospital Center/New York Medical
College Department of Psychiatry; Manhattan State Hospital (New York City)
Grand Rounds; Spring Grove Hospital (Maryland) CME Credit Seminars;
Chestnut Lodge Hospital Case Conference; St. Elizabeths Hospital Grand Rounds
and Seminars (Washington, DC); Regents College of Psychotherapy and
Counseling (London); Institute for Genetics (Cologne); Royal Ottawa Hospital
Grand Rounds (Canada); MIND of Great Britain; University of Sheffield
Department of Psychiatry (England).

Special Presentations and Advanced Training Courses related to Clinical
Psychopharmacology:

I have presented at and/or attended a number of lengthy several-day-long training
workshops on the drug approval process that dealt with the FDA approval process and
drug labeling. The following seminars, including several at which I made presentations,
dealt extensively with adverse drug reactions, drug development, labeling and related
processes:

(1) “Regulatory Training Course J: IND [Investigative New Drug] Phase.”
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Breggin Resume Summary, p. 5

A course in how drug companies develop an IND for the FDA in
accordance with FDA statutes, regulations, and guidelines. DIA (Drug
Information Association). Bethesda, Maryland, February 26-28, 1996.

(2) “Future development of neuroleptic medications: A report to the FDA.” This
was a report to an FDA Meeting of the Psychopharmacologic Drugs Advisory

Committee concerning labeling issues and the future development of neuroleptic
medications. It was published as “Future development of neuroleptic
medications: A report to the FDA” in the Rights Tenet (Newsletter of the National
Association for Rights Protection and Advocacy) Fall1995.

(3) “Regulatory Training Course 1: Marketing Application & Post

Approval Phase.” A course in how drug companies develop an NDA
[New Drug Application], as well as post-approval activities, in accordance
with FDA statutes, regulations, and guidelines. DIA (Drug Information
Association), Bethesda, Maryland, March 27-29, 1996.

(4) “Clinical Therapeutics and the Recognition of Drug-Induced Disease:

How Health Care Professionals and the FDA Can Work Together to
Reduce the Risks of Adverse Drug Events.” A workshop focused on the
spontaneous reporting system presented by the Center for Drug Evaluation

and Research (CDER) of the FDA, Georgetown University School of
Medicine, Washington DC, June 10, 1994.

(5) “The Application of GCP [Good Clinical Practices] for Study Site
Coordinators and Business Administrators.” Described as “a
comprehensive, practical overview of the responsibilities of the
investigator, the clinical study coordinator assisting the investigator, and
the sponsor in the conduct of a clinical trial” for FDA approval of.a drug.
DIA (rug Information Association), Philadelphia, December 11-13,
1995.

(6)"Pharmaceutical Industry Crisis Management Workshop.” Purpose
described as “to develop the participants knowledge of the fundamental

elements of crises and crisis management in the pharmaceutical industry.”
Initial day covered handling of a variety of issues, including New Drug
Applications (NDAs), FDA regulations and industry relations, recalls,
adverse drug event reporting, and clinical trial standards. DIA (Drug
Information Association), Washington, DC, December 4, 2000.

(7) “Ritalin Litigation.” Described as “The medical and legal roadmap to
trying or defending your Ritalin suit successfully,” including presentations
on stimulant drug treatment, ADHD, and the role of the FDA and DEA in
monitoring industry activities. I presented on “The science behind the
lawsuits” (including labeling issues) and also attended. The American
Conference Institute, New York City, March 29, 2001.
 

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Breggin Resume Summary, p-. 6

(8) “Emerging Drug Litigation Conference.” One-half day on class action
suits at which I presented on “The Science and Medicine of Ritalin”
(including labeling issues) and also attended. Mealey's (Lexis/Nexis).
New Orleans, May 17, 2001.

(9) “Adverse Effects of SSRI Medications: A Medical Legal Conference.”

Labeling was a key issue at this conference focused on product liability. I
presented on “Adverse Psychiatric Effects of SSRI Antidepressants”
(including labeling issues) and attended conference. Extant Medical Legal
Consulting. Philadelphia, October 4-5, 2002.

(10) “SSRI-Induced Stimulation, Suicidality and Violence in Children and

Adults.” These were public presentations to two FDA Advisory
Committee meetings on modifying the labeling for SSRI-induced
suicidality in children. Each meeting involved the Psychopharmacologic
Drugs Advisory Committee and the Pediatric Advisory Committee. I
summarized evidence for a stimulant syndrome that causes suicidality and
violence that should be included in the label. The label changes later
adopted by the FDA closely parallel my suggestions in my presentations
and publications. Bethesda, Maryland, February 2, 2004 and September
13, 2004.

(11) “Anti-Depressant Suicidality and Violence: More about Deception

than Science. Observations Made at the FDA Hearings Press Conference.
sponsored by the Alliance for Human Research protection (AHRP).” I

address issues surrounding what kind of material gets into FDA-approved
. labels, including the limitations of that data. Other presenters discussed
related issues. Bethesda, Maryland, September 14, 2004.

(12) “Stimulation, Violence and Suicide as Adverse Reactions to SSRIs in
Children and Adults.” Public Presentations and attendance at two FDA

Advisory Committee meetings on modifying the labeling for SSRI-
induced suicidality in children (three days total). Each meeting involved
the Psychopharmacologic Drugs Advisory Committee and the Pediatric
Advisory Committee. I summarized evidence for a stimulant syndrome
that causes suicidality and violence that should be included in the label.
The label changes later adopted by the FDA closely parallel my
suggestions in my presentations and publications. Bethesda, Maryland,
February 2, 2004 and September 13, 2004.

(13) “Anti-Depressant Suicidality and Violence: More about Deception
than Science. Observations Made at the FDA Hearings Press Conference,
sponsored by the Alliance for Human Research protection (AHRP).” I

address issues surrounding the quality of the data drug companies generate
and what ultimately gets into FDA-approved labels. Other presenters
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Breggin Resume Summary, p. 7

discussed related issues. Bethesda, Maryland, September 14, 2004.

Medical Expert and Researcher:

I have testified in more than 70 cases since the early 1970s, including criminal,
malpractice, and product liability. They often involve psychopharmacology and
adverse drug effects, neuroleptic-induced tardive dyskinesia, SSRI-induced
violence and suicide, and psychosurgery and ECT-induced brain damage.

Some of the suits in which I have been involved, and some of research I have
published, resulted in changes being made in the FDA-approved labels for
neuroleptics and SSRI antidepressants.

A few highlights include:

(1) Medical expert in Kaimowitz v. Department of Mental Health, Wayne
County, Michigan (1973). The three-judge panel followed my testimony in an
opinion that helped to stop lobotomy and psychosurgery in the state and federal
facilities around the country. This is considered a landmark case in the history of
psychiatry and the law.

(2) Medical expert for the 100 or more combined Prozac product liability
suits (1992-1994) against Eli Lilly, including the famous Wesbecker trial
(Fentress et al.) that the drug company secretly settled in a controversial
manipulation of the court system.

(3 Medical expert and consultant in many tardive dyskinesia malpractice
and product liability suits.

(4 Medical expert in numerous criminal cases with defenses based on
involuntary intoxication with psychiatric drugs.

(5) Invited Scientific Presenter on adverse drug effects in children at the
November 1998 National Institutes of Health (NIH) Consensus Development
Conference on the Diagnosis and Treatment of Attention Deficit Disorder.

(6) Medical consultant for the FAA (Federal Aviation Agency) concerning
effects of SSRIs on pilots (1998-2000).

(7) Testimony before the Food and Drug Administration (FDA) on the
dangers of SSRI antidepressants in children (February 2004). The published
opinion of the FDA panel closely paralleled my testimony and publications about
the overall risk of stimulation (activation) with the potential for agitation, violence
and suicide.

Memberships:

Current:

American Psychiatric Association (Life Member)
Canadian Psychiatric Association

World Association of Medical Editors
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Breggin Resume Summary, p. 8

Until approximately 2005-6

Royal Society of Medicine

Regulatory Affairs Professionals Society (RAPS)

Drug Information Association (DIA)

American Psychological Association

American Orthopsychiatric Association (Fellow)
Medical Licenses:

New York State, Washington, D.C., Maryland, and Virginia (last three inactive)

HI. PROFESSIONAL BOOKS

1. College Students in a Mental Hospital: Contribution to the Social
Rehabilitation of the Mentally ll (New York, Grune & Stratton, 1962) (jointly authored

by Carter Umbarger, James Dalsimer, Andrew Morrison, and Peter Breggin).
2. Electroshock: Its Brain-Disabling Effects (Springer, NY, 1979).
3. Psychiatric Drugs: Hazards to the Brain (Springer, NY, 1983).
4. Toxic Psychiatry (St. Martin's, NY, 1991).
5. Beyond Conflict (St. Martin's, NY, 1992).
6. Talking Back to Prozac (with Ginger Breggin) (St. Martin's, NY, 1994).
7. The War Against Children (with Ginger Breggin) (St. Martin's, NY, 1994).

8. Psychosocial Approaches to Deeply Disturbed Persons (senior editor)
(Haworth Press, NY, 1996).

9. Brain-Disabling Treatments in Psychiatry: Drugs, Electroshock and the Role of
the FDA (Springer, NY, 1997).

10. The Heart of Being Helpful: Empathy and the Creation of a Healing Presence
(Springer, NY, 1997; new paperback edition in 2006).

11. Talking Back To Ritalin (Common Courage Press, ME, 1998).

12. The War Against Children of Color: Psychiatry Targets Inner City Children.

(Common Courage Press, ME, 1998) (with Ginger Breggin) Revision and update of The
War Against Children.

13. Your Drug May Be Your Problem: How and Why To Stop Taking Psychiatric
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Breggin Resume Summary, p. 9

Medications. (Perseus Books, Cambridge, MA, 1999) (Co-authored by David Cohen,
Ph.D.).

14. Reclaiming Our Children: A Healing Solution to a Nation in Crisis. (Perseus
Books, Cambridge, MA, 2,000).

15. Taiking Back to Ritalin, Revised Edition. (Perseus Books, Cambridge, MA,
2001).

16. The Antidepressant Fact book. (Perseus Books, Cambridge, MA, 2001)

17. Dimensions of Empathic Therapy (jointly co-edited by Ginger Breggin and
Fred Bemak) (Springer Publishing Company, NY, 2002).

18. The Ritalin Fact Book. (Perseus Books, Cambridge, MA, 2002).

19. Your Drug May Be Your Problem: How and Why To Stop Taking Psychiatric
Medications, Second Edition. (Perseus Books, Cambridge, MA, 2007) (Co-authored by
David Cohen, Ph.D.).

20. Brain-Disabling Treatments in Psychiatry: Drugs, Electroshock and the

Psychopharmaceutical Complex, Second Edition (Springer Publishing Company, NY,
2008).

21. Medication Madness: The Role of Psychiatric Drugs in Cases of Violence,
Suicide, and Crime. (St. Martin’s Press, NY).

 

22. Wow. I’m an American! How to Live Like Our Nation’s Heroic Founders.
(Ithaca, NY; Lake Edge Press).

IV. PEER-REVIEWED PUBLICATIONS

 

1. “The Psychophysiology of Anxiety.” Journal of Nervous Mental Diseases
139:558-568, 1964.

2. “Coercion of Voluntary Patients in an Open Hospital.” Archives of General
Psychiatry 10:173-181, 1964. Reprinted with a new introduction in Edwards, R.B. (ed):
Psychiatry and Ethics. Buffalo, Prometheus Books, 1982, and in Edwards, R.B. (ed):
Ethics of Psychiatry. Amherst, New York, Prometheus Books, 1997.

3. “The Sedative-like Effect of Epinephrine.” Archives of General Psychiatry
12:255-259, 1965.

4. “Psychotherapy as Applied Ethics.” Psychiatry 34:59-75, 1971.

5. “Therapy as Applied Utopian Politics.” Mental Health and Society 1:129-146,
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Breggin Resume Summary, p-. 10

1974,

6. “Psychiatry and Psychotherapy as Political Processes.” American Journal of
Psychotherapy 29:369-382, 1975.

7. “Madness is a Failure of Free Will; Therapy Too Often Encourages It.”

Psychiatric Quarterly 53:61-68, 1981. Originally published (in French) in Verdiglione A
(ed):La Folie Dans La Psychoanalyse. Paris, Payot, 1977.

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LAIN AND COGNITION 23, 8-27 11993}

Parallels between Neuroleptic Effects and Lethargic
Encephalitis: The Production of Dyskinesias and
Cognitive Disorders

Peter R. BREGGIN

Center fur the Suidy of Psychiatry and George Mason University

A retrospective examination of Jethurgic encephalitis finds many puraltels with
neuroleptic effects. The encephalitis, like the neuroleptics. produced an acute
continuum of cugnitive disorders from emotional indifference through apathy and
onto a rousable stupor. Ht also produced similar acute dyskinesias, including
akinesia, akuthisia. dystonia, oculogyric crises, and tremors. The encephalitis
also caused similar chronic effects. including dementia and psychosis. and some-
what diferent persistent dyskinesias. The chronic motor and cognitive disorders.
like those associated with the neuroleptics, were often delayed in onset. An ucute,
severe episode of lethargic encephulitis also finds a purallel in the neuroleptic
malignant syndrome. These parallels are probably due to a common sile of uction
in the basal ganelia. They provide w model for understanding many neuroleptic
effects and alert us to the probability of persistent cognitive deficits. including
dementia. from neuroleptic treatment. & 9993 Avademic Press. tne.

Increasing concern is being shown about acute und persistent cognitive
deficits associated with neuroleptic therapy. Thus far the literature has
lacked a comprehensive model or framework for explaining the source.
nature, and course of these deficits. Parallels between the effects of le-
thargic encephalitis and neuroleptic treatment offer a potential model
based on a common site of impact in the basal ganglia und associated
structures. resulting in both motor and cognitive disorders. These close
parallels draw our attention to the probability of persistent copnitive dys-
function following chronic neuroleptic treatment.

LETHARGIC ENCEPHALITIS

Lethargic encephalitis (LE, encephalitis lethargica. von Economo’s
disease, and epidemic encephalitis) was identified by von Economo in

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NEUROLEPTIC EFFECTS AND LETHARGIC ENCEPHALITIS 9

the winter of {9f6-1917 in Vienna. The pandemic was most severe in
Europe and North America. with cases reported throughout the world.
Over a decade. the disease afflicted more than a million people and
caused hundreds of thousands of fatalities (Ravenholt and Foege, 1982).
The last epidemic was reported in 1926 (Matheson Commission, 1939)
and the disease largely disappeared by 1930. The infectious nature of LE
was demonstrated with its transmission to monkeys. but the presumed
viral agent was never isolated or identified.

Munitestations of the disease varied greatly from case to case and epi-
demic to epidemic: but the syndrome frequently included lethargy or
a rousable stupor. various cognitive and behavioral abnormalities. and
dyskinesias. among them hyperactivity. tremor, chorea and athetosis-
dystonia. and Parkinsonism (Abrahamson, 1935; Brill, 1959: von Eco-
nomo. 1931: Ward. 1986). Neurological symptoms due to involvement of
the basal ganglia! were far more common than those associated with the
cerebral cortex.

The disease could result in complete recovery or. in approximately
250% of the cases. death (lubelt & Miller, 1989). Often it became chronic
without any period of recovery. At other times. the patient seemed to
recover: but months or years later developed postencephalitic disorders
afflicting both the mental faculties and motor control. most frequently
Parkinsonism. On occasion. postencephalitic states seemed to develop in
the absence of a recognized acute phase (von Economo, 1931. p. 12).

Good reasons exist to compare lethargic encephalitis effects with those
of neuroleptic drugs. The encephalitis caused a much broader spectrum
of acute and chronic symptoms than those associated with neuroleptics;
not all manifestations of the infectious disease will be found in neurolep-
lic-treated patients. However, nearly all the cognitive and motor disor-
ders commonly associated with neuroleptic rreatment were also com-
monly associated with lethargic encephalitis.

Some empirical research was carried out on cognitive function in post-
encephalitic cases (e.g., Worster-Drought and Hardcastle, 1924-1925);
however. if was not sufficiently extensive for comparulive purposes.
Evaluation of cognitive dysfunction from LE will draw on clinicial obser-
vations and perspectives.

In the early years of the epidemic, some clinicians mistakenly diag-

' The term busal ganglia includes several Jarge eniy musses of neurons embedded in the
lower purts of each cerebral hemisphere. including the striatum. The striatum is made up
of the caudate and the lenticulur nuclei. the fatter being divided inio the putamen and the
globus pallidum. When the term basal ganglia is used in this review. it will also include the
substantia oigra which sends afferent dopaminergic fibers to the striutum vin the nigrostriatal
pathway. Damuge to che dopaminergic acurens of the substantia nigra affects the strkstunt.
The basu! ganglia ure interconnected with the reticulur activating system. the limbic system,
and the frontal cortex {Alheid. Heimer & Switzer, 1990).
 

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nosed LE as dementia praecox or schizophrenia. and even referred to it
as “epidemic schizophrenia” (Wyatt. Kirch. & De Lisi. 1989. p. 726).
von Economo (1931, p. 133) observed that confusions between encephali-
tis and schizophrenia occurred *‘in the days preceding our knowledge of
encephalitis lethargica."’ These confusions affected the concept of schizo-
phrenia in the carly 20th Century. Sarbin (1990) observes that many of
Kraepelin’s and Bleuler’s patients diagnosed with dementia praecox and
schizophrenia were in reality displaying postencephulitic neurological
symptoms.

Discussing the differential diagnosis. Brill (1959, p. 1168) observes.
“the emotional reaction is shallow and often dull and apathetic” in en-
cephalitic patients. “but it does not resemble schizophrenia . . .~ Ward
(1986, p. 219} confirms that ‘a picture closely resembling schizophrenia
was unusual,"* and adds, “Comparisons between the phenomenology of
encephalitis lethargica and schizophrenia suggested that basal gunglia pa-
thology might be the basis of schizophrenia. but such generalizations tend
to be far-fetched’ (p. 221). Indeed, **Encephalitis is clearly recognizabic
in necropsy material whereas schizophrenia is not” (Boardman. 1990. p.
185).*

In this paper, it is suggested that the more accurate comparison is
between LE and neuroleptic treatment. both of which damage the basul
ganglia and produce similar acute and chronic clinical syndromes.

EARLY COMPARISONS BETWEEN THE NEUROLEPTIC
AND THE ENGEPHALITIC EFFECTS

Psychiatrists and neurologists working in the 1950s often had firsthand
experience with patients from the earlier LE epidemic and were able to

> The finding of extrapyramidal motor disorders in preneuroleptic clinical descriptions of
schizophrenia has fed some researchers to conclude that at Jeast some motor disorders are
the product of schizophrenia rather thun the neuroleptics (Waddington & Crow, 1988).
As already nated. these preneuroleptic era cases were probably misidentilicd exumples of
fethirgic encephalitis or other coincident diseases of the basal ganglia or associated struc-
tures talso see. for example, Appel. Myers. & Morris. 1958. p. 549). ‘The cases were almost
always state mental hospital patients who were exposed to a wide vuriety of potentially
brain-dumaging contingencies, including epidemic diseases. malnutrition. trauma, or toxic
therapies. As soted in the text, there is no known connection between schizophrenia and
basal ganglia disease. When damage to the basal guaglia and surrounding structures is
identified on autopsy. a diagnosis other thun schizophreniz is made. The same confusion
originally occurred between schizophrenia and general paresis before the Wassermann test
iBellak. 1948. p. 88). The question of whether or not tardive dyskinesia is almost always
the result of neuroleptic treatment. rather than w mental disorder. is lurgely answered by a
recent controlled study involving the elderiv. Older people ure considered most susceptible
to spuntaneous dyskinesias: but during a 24-month period, more than 40 of a neuro-
leptic-ireated group (65 years of older) developed tardive dyskinesia. while none of the
controls did so (Y¥assa. Nastase. Camille. & Beizile, 1988).
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compare its effects to those of the neuroleptics. Delay and Deniker. who
pioneered the psychiutric use of neuroleptics in France in the 1950s.
recognized certain similarities between LE and the new drugs (Delay.
Deniker. & Thuiflier. 957).

It is certain that the observation of “cerebral accidents” due to prochtorperazine
brings back to fife un entire pathology observed as sequelae of lethargic encephali-
tis. especially in the prepurkinsonian excito-motor phuse. where ubnormal move-
ments und mental states dominated. (p. 309).

in a retrospective published in 1970, Deniker explained:

It was found that neuroleptics could experimentally reproduce alniost all the symp-
toms of lethurgic encephalitis. In feet. it would be possible to cause true encephuli-
tis epidemics with the new drugs . - . Furthermore. it might have been feared that
these drugs. whose uclions compares with that of encephalitis and parkinsonism,
might eventually induce irreversible secondury neurological syndromes. 11970). pp.
1H, 163}.

Other clinicians and researchers became aware of parallels between
the effects of the viral disease and the medication (Paulson, 1959). In a
1957 symposium, Hause (1959. p. 199) drew comparisons between LE
and neuroleptic effects. Haase also compared the neurofeptic effect to
the “analogous syndromes of encephalitis lethargica’’ and postulated a
common lesion in the striatum of the basa! ganglia (cited in Kline. 1959,
p. 472). Brill (1959) also recognized similarities between LE and the neu-
roleptics. “which. in full doses, can reproduce many of the most out-
standing features of the chronic encephalitic syndrome” (p. 1166). includ-
ing Parkinsonian rigidity, masked facies, tremor, restlessness, oculogyric
crises, dystonias, and “the rousable stupor of acute encephalitis” (p.
1167). Hunter. Earl. and Thornicroft (1964) also recognized similarities
and suggested that neuroleptic-treated patients suffer from a **chemically
induced’* encephalitis.

SIX PARALLEL EFFECTS

At least six parallels between both the acute and the persistent effects
of neuroleptics and LE can be drawn: (1) acute extrapyramidal reactions
or dyskinesias, including Parkinsonism, akathisia, dystonia. chorea, athe-
tosis, and tremors: (2) acute cognitive dysfunctions such as apathy, dism-
terest. and reduced arousal: (3) chronic (irreversible) motor disorders,
including tardive dyskinesia, tardive akathisia. and tardive dystonia; (4)
chronic (irreversible) cognitive dysfunctions. including dementia, anosog-
nosia. and deactivation: (5) the close resemblance between neuroleptic

‘The term deuelivation will be used to designate a continuum of phenomena vartously
described us disinterest, indifference. diminished cancern, blunting. lack of spontaneity,

 
 

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malignant syndrome (NMS) and an acute episode of LE: (6) the common
site of action in the basal ganglia.

ACUTE EXTRAPYRAMIDAL REACTIONS

Several extrapyramidal symptoms manifested themselves in the acule
phase of LE. These so closely paralleled the various motor disorders
routinely produced by neuroleptic medications that they can be discussed
together.

LE patients frequently suffered from compulsive hyperactivity. an ““ir-
ritative hyperkinetic form™* of the disease (Haase. 1959). van Economto
(1931) considered the “‘hyperkinetic form’” the second most frequent
acute manifestation of the disease. This hyperactivity was typically asso-
ciated with a subjective feeling of extreme tension or anxiety. what von
Economo described as “general mental unrest and ceaseless motor activ-
ity’’ (p. 36). An identical hyperkinesis. called akathisia. is very common
in drug-treated patients. In a sample of 110 patients, Van Putten (1975)
found a rate of 45% “"some time during the course of their treatment”
(p. 45). Van Putten. May, and Marder (1974) found that akathisia devel-
oped in 75% of patients after 1 week of receiving a daily 10-mg dose of
haloperidol.

During the onset of the disease. LE patients commonly developed a
Parkinsonian syndrome. including psychomotor retardation. akinesia.
masked facies, tremor, and a characteristic shuffling gait. von Economo
(1931) considered this “‘amyostatic—akinetic™ form the third most fre-
quent acute manifestation of the disease. In chronic postencephalitic
states. the Parkinsonian syndrome was by far the most common. A very
similar Parkinsonian syndrome is also common during acute and pro-
longed neuroleplic therapy and can probably be induced in any patient
with sufficiently high doses. Some phases of the viral epidemic were
more marked by akinesia and others by hyperkinesia. with a considerable
crossover {von Economo. 1931). Similarly. according to Van Putien
(1975). “595 of [neuroleptic-treated] patients with akathisia concomi-
tantly experienced akinesia, parkinsonian tremor. or dystonia” (p. 45).

Frequently. acute encephulitic patients developed dystonias: painful.
tonic spasms of the voluntary muscles. Oculogyric crises—spasmodic
eye deviations Justing for minutes or hours—were among the most com-
mon dystonias (von Economo, 1931). Dystonias are more rarc during
neuroleptic treatment and usually occur within the first days or weeks.
However. when drug-induced dystonias do develop, they are often oculo-
gyric. Delay et al. (1957) reported disabling “hypertonic” dystonias, in-

 

reduced emotional reacdvity. reduced motivation or will, apathy. and. in the extreme, a
rousuble stupor.
 

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cluding eye deviations, in response to prochlorperazine. a neuroleptic
that is especially prone to produce them. They compared these reactions
to similar reactions reported by Marinesco, Radovici, and Draganesco
(1925) in association with LE. Paulson (1959) attributed the occurrence
of oculogyric crises in bath encephalitis and drug treatment to dysfunc-
tion of the busal ganglia.

In summary, the two most common dyskinesias associated with routine
neuroleptic therapy—Parkinsonism and akathisia—were also among the
most frequently associated with the early or acute slages of LE. Dysto-
nias, including oculogyric crises, while more common in LE. are also
occasionally found in neuroleptic treatment.

A CONTINUUM OF ACUTE COGNITIVE DYSFUNCTIONS

A continuum of deactivation was reported as a consistent and promi-
nent feature of LE. ranging from disinterest through a rousable stupor,
and was the subject of considerable discussion. The same continuum was
cited as the primary effect of neuroleptic treatment by pioneers in the
field, but in recent years has received insufficient altention.

von Economo (1931) noted that when roused from the stupor, many
LE patients were docile and obeyed commands. without displaying gross
cognitive dysfunction {p. 27).

i{ uroused, they wake up quickly and completely. are oriented und fully conscious.
und can reply sensibly to questioning: they ure fully aware of the situation. carry
out all requests promptly, get up if asked to do so and walk about. but. left wo
themselves. soon drop buck to sleep. tp. 27).

In his section discussing “Psychological Disorders.”” von Economa
spoke of two basic dysfunctions generally found in LE: “disturbances of
will.’ characterized by a ‘dynamic lack of impulse.” and “Changes of
‘humor’ .”” with “‘indifference’’ and “lack of emotion™ (p. 162}. Abra-
hamson’s 1920 descriptions of the effects of viral encephalitis, reprinied
in his posthumous book, Lethargic Encephalitis (1939), also cover the
continuum from disinterest through rousable stupor.

initability both to internal and external stimuli diminishes. and the vital tone of
the afflicted host lessens. . . . He may display neither conscious nor unconscious
initintive. .. . Yet from the depth of this seeming slumber. he may respond immedi-
ately wher questioned and his short but coherent answers show no loss either of
memory or of orientation. .. . There is 2 complete lack of emotianul expression. . ..
The face. waxen and corpselike, remuins an impassive and inscrutable musk... .
In viher words. sensory stimuli stream inte the brain and the brain ignares
them. . . . |And] vatition is practically suspended. (pp. 32-44}

Abrahamson and von Economo both believed that the cognitive dys-
function were part of a unitary syndrome that included motor inhibition
ur slowing. In effect, patients lost the will to move. In connecting the
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loss of will and diminished movement, von Economo referred to *‘ukine-
sia’’ (p. 159). a term now used in psychiatry to describe the similar neuro-
leptic effect that includes both motor slowing and apathy (Van Putten,
May, & Wilkins, 1980). For his part, Abrahamson used the term “psycho-
motor inertia’’ (p. 40), nearly identical to the phrase commonly used in
contemporary psychiatric rating scales, i.e., the BPRS’ “‘psychomotor
retardation.””

More recently, Ward (1986) confirmed the characteristic continuum of
cognitive disorder in association with LE, including “subjective feclings
of marked lassitude’’ and a general “lack of initiative’ (p. 217). Ward
also notes the lack of clinically apparent cognitive deficits.

A very similar continuum of cognitive dysfunction was reporied in the
earliest clinical descriptions of the neuroleptic effect. In 1952 Delay and
Deniker described for the first time the effect of chlorpromazine when
given in relatively small doses. The effect varied from indifference to the
rousable stupor. Later, Deniker (1970) more fully appreciated the central
role of drug-induced indifference.

But the impact of the most significant finding was not immediately recognized, It
was the characteristic psychomotor indifference that chlorpromazine caused in
treated subjects. Later. it was classified as akinesia. (p. 158).

Other investigators quickly pinpointed indifference as the main clinical
effect of the drug. The first description of this effect in the North Ameri-
can literature was by Lehmann and Hanrahan (1954) who focused on
“emotional indifference."’ They observe, “‘Patients receiving the drug
become lethargic” (p. 230). The first British report, by Anton-Stephens

(1954), states:

Psvehie indifference. This is perhaps the characteristic psychiatric response to
chlorpromazine. Patients responding well to the drug have developed an attitude
of indifference both to their surroundings and their symptoms best summurized by
the current phrase “*couldn’t care Jess."* {p. 330)

Textbooks from the beginning of the neuroleptic era also focused on
ithe production of indifference or disinterest as the primary drug effect.
For example, in Modern Clinical Psychiatry, Noyes and Kolb (1958) com-
mented: “If the patient responds well to the drug, he develops an attitude
of indifference both to his surroundings and to his symptoms’”’ (p. 654).
From Germany, Flugel identified what he catied ‘the akinetic—avolitional
syndrome”’ as key to the neuroleptic effect (Kline, 1959, p. 466).

Jarvic (1970) summarized that neuroleptics produce indifference and
“taming” in every species of animal studied. Lehmann (1975) suggested
that neuroleptic treatments result primarily ‘‘in reduced reactivity to ex-
ternal and internal stimuli and in decreased spontaneous activity”’ and in
“blunting of emotional arousal’’ (p. 28). Without elaborating on it, he
used the phrase ‘*deactivation of the CNS” (p. 32) to describe the overall
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effect. Emerich and Sanberg (1991) noted that neuroleptics produce many
types of dysphoria, including “cognitive blunting” and a ““puralysis of
volition” (p. 201). A number of authors have observed the uputhy so
frequently associated with long-term neuroleptic treatment (Van Putten
& May. 1978; Van Putten et al.. 1980). There are many discussions of
psychomotor slowing. often without specifically addressing the deactiva-
tion component. Baldessarini (1985) states that **Nearly all of the neuro-
leptic agents used in psychiatry can diminish spontancous motor activity
in every species of animal studied. including man™ (p. 394). More spe-
cifically. he notes that “Exploratory behavior is diminished. and re-
sponses tv a variety of stimuli are fewer. slower, and smaller . . .” Op.
394). Consistent with this. Breggin (1983a. pp. 36-59. 1991) hus taken the
viewpoint that neuroleptic-induced disinterest and lethargy are nonspe-
cific for any particular diagnostic group of patients. Like many earlier
clinicians and researchers. he believes that deactivation is largely respon-
sible for the clinical effect of the neuroleptics.

CHRONIC MOVEMENT DISORDERS

Victims of LE frequently developed irreversible postencephialitic mo-
tor complications. of which Parkinsonism was the most common. Some-
times the Parkinsonism persisted continuously from the acute into the
chronic stage. and sometimes it appeared years later after seeming recov-
ery from an acute allack.

As early as 1959, Paulson observed:

When used in therapeutic doses. phenothiazines may aever permanently injure the
central nervous system. Their innocence. however, may be difficult to prove toa
patient who develops idiopathic Parkinsonism years after having hud identical
symptoms as a side-effect of tranquilizalion. (p. 801)
There are few reports in the literature about irreversible Parkinsonism
associated with neuroleptic therapy: but little attempt has been made
to evaluate the possibility.* Cases of persistent Parkinsonism have been
reported following neuroleptic malignant syndrome (see ahead).

As another chronic residual of the viral disease, von Economo (1931,
p. 107) noted “‘irritative phenomena.” including *‘cases of hemichorea
and also of general chorea. others reminiscent of athctosis, cases of torti-
collis. torsion-spasms. and tics.”” Similarly. in their discussion of chronic
effects of LE. Noyes and Kolb (1938) alse noted:

Tremors. tics. myotonias, and athetoid and choreiform movements are frequently
observed. in addition to these dyskinesias and hyperkinesins. there may be parox-

 

* Most long-term neuroleptic patients are undergoing drug treaiment while being evalu-
ated for persistent dyskinesias. and it is cased, perhaps wrongly. that the frequent find-
ings of nkinesia und. Parkinsonism is merely the resull of the un-guing trealment.

 
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ysmal symptoms such as disturbances in rate and chythm of respiration. also gasp-
ing and vawning. (p. I7b).

A few vears ago. these descriptions of persistent neuroleptic sequelae
by von Economo and by Noyes and Kolb would have varied somewhat
from our understanding of neuroleptic-induced sequelae. More recently
altention has been given to irreversible hyperactivity (ardive akathisia)
und irreversible torsion spasms (tardive dystonias) caused by neurolep-
tics (e.g.. Gualtieri & Sovner. 1989: Burke, Fahn. Jankovic. Marsden.
Lang. Gollomp. & Ilson. 1982). and the two syndromes are now find-
ing their way into neurology textbooks (Fahn. 1989). Thus ncuroleptic-
induced tardive dyskinesia, tardive akathisin, and tardive dystonia are
paralleled in the chronic disorders produced by encephalitis lethargica.

Tardive dyskinesia is a frequent sequela of neuroleptic therapy. The
American Psychiatric Association's (1980) task force on tardive dyskine-
sia concluded that more than minimal signs of the disease ure found in
at least 40% of older patients on long-term neuroleptic treatment. More
recent studies are disclosing higher rates than carlier studies. and Schatz-
berg and Cole (1986, p. 99) remark that 50-606 of chronically institution-
alized patients display dyskinesias. Studies by Gualtieri {Gualtier? &
Sovner. (989) have found rates of’ 13—14% for tardive akathisia in institu-
tionalized developmentally disabled persons with a history of neuroleptic
ireatment.

In summary. both LE and neuroleptic treatment result in high rates of
chronic dyskinesias. with Parkinsonism more common as the aftermath
of the viral disease. while tardive dyskinesia and tardive akathisia are
more frequent following neuroleptic treatment.

CHRONIC COGNITIVE DYSFUNCTIONS

Several chronic cognitive disorders resulted from LE and are now
found in association with long-term neuroleptic treatment.

Demeutia and Persisrent Cognitive Impairment

Dementia was among the most common chronic manifestations of the
LE. Many of the Parkinsonian patients may have suffered from varying
degrees of cognitive dysfunction and dementia. Hurvey (1986) reports
that Parkinsonism is associated with dementia in 20-80% of cases. de-
pending upon the criteria. According to Yahr (1989). some authorities
consider dementia “tan intrinsic characteristic of the disease. increasing
in severity as it progresses” (p. 662). Yahr himself concludes that “it
does appear that a number of cognitive, perceptual. and memory deficits
ure present’ in Parkinson’s disease (p. 662).

The intellectual deficits in Parkinsonism patients have been somewhat
hard to measure, because the dementia is dominated by pathology in the

 
 

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busal ganglia rather than the cerebral cortex. This results in so-called
subcortical dementia (Huber and Paulson. 1985) with fewer overt intellec-
tual deficits. Like postencephalitic patients. those with subcortical de-
mentia display more apathy and depression than euphoria. and social
judgment is characteristically spured.

As a result of the more minimal intellectual deterioration, observers
tike von Economo and Abrahamson may have been less likely to describe
the patients as obviously demented. Furthermore. it is plausible that the
finding of postencephalitic dementia was considered too commonplace
to merit much attention compared to the more dramatic psychomotor
retardation and deactivation syndrome. Nonetheless, von Economo did
describe cases of more typical dementia with “‘confusion.” “delirium.”
and *“para-umentia."* He also compared the patients’ mental condition to
that of neurusyphilis. toxic states. and other disorders commonly associ-
uted with generalized intellectual dysfunction. Abrahamson (1935) re-
ported that the typical akinetic syndrome sometimes deteriorated into
frank dementia: “This state may pass away leaving confusion, faulty
orientation and memory loss of the Korsakoff type” (p.35).

According to von Economo, an irreversible hypomanic syndrome re-
sembling “moral insanity’” was frequently seen. especially in younger
patients, Usually it was moderate in degree: the patients became ‘more
talkative. importunate, impertinent. forward. and disrespectful: they lack
inhibition: they often become troublesome and antisocial and display a
tendency to outbreaks of emotion’” (1931. p. 128). The cases could de-
velop progressively from the acute phase of encephalilis or appear at a
jater date. The clinical picture, in retrospect. seems like mild to moderate
dementia with euphoria.

Do the neuroleptics cause parallel permanent changes in cognitive
function? Evidence for neuroleptic-induced cerebral cortical atrophy.
persistent cognitive dysfunction. and dementia has recently been dés-
cussed by a number of authors (e.g.. Breggin. 1983a. 1990. 1991: Jones.
1985: Myslobodsky. 1986: and Gualtieri & Barnhill, 1988). In concluding
that neuroleptic treatment frequently causes atrophy and dementia, Breg-
gin { 1990) reviewed brain scan studies, clinical evaluations, psychological
iesting, animal and human postmortem findings. and parallel models from
other diseases of the brain, such as Parkinsonism and Huntington's cho-
rea. Rates of cerebral atrophy in neuroleptic-treated paticnts range from
10 to 40%. and tend to correlate with life-time drug exposure.

Wilson. Garbutt. Lanier. Moylan. Nelson. and Prange (1983) for exam-
ple. found mental abnormalities consistent with an organic brain syn-
drome in tardive dyskinesia patients. The severity of cognitive disability
correlated with the severity of tardive dyskinesia symptoms. Some stud-
ies have correluted persistent cognitive dysfunction with tardive dyskine-
sia and with life-time intake of neuroleptics (DeWolfe. Ryan. & Wolf.
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1988), Famuyiwa, Eccleston. Donaldson. and Garside (1979), and many
others. have found cerebral atrophy as measured on 2 computerized to-
mography (CT) scan among neuroleptic-treated patients. Often the atro-
phy is associated with cognitive dysfunction. Gualtieri and Barnhill (1988)
concluded:

In virtually every clinical survey that has addressed the question, it is found that

TD patients. compared to non-TD patients. have more in the way of dementia.

ip. 149

l have evaluated several cases of long-term neuroleptic paticnis with
hypomanic syndromes similar to those described by von Economo—
mildly euphoric individuals who display superficial joviality. poor judg-
ment. rambling talkativeness, and sometimes an inappropriate tendency
to move too close to the examiner. Wilson. Garbutt. Lanier. Moylan,
Nelson. and Prange (1983) have described a similar neuroleptic-induced
syndrome that they call dysmentia. consisting of “unstable mood, loud
speech. and [inappropriately close] approach to the examiner.” It is prob-
ably a variant of hypomanic dementia. Euphoria. as well as apathy. can
result from frontal lobe damage and dysfunction (Bradley. Darolf. Feni-
chel. & Marsden. 1991, p. 84; see below).

In summary. there is evidence that varying degrees of dementia re-
sulted from LE and that persistent cognitive dysfunction and dementia
also result from long-term neuroleptic treatment. Usually, the dementia
associated with the neuroleptics is of the subcortical variety with apathy
and relatively little disturbance of higher cortical Function. In addition, a
hypomanic dementia was also identified as a consequence of LE and can
afso be found after prolonged neuroleplic treatment.

Anosovnosia

Anosognosiu—denial of dysfunction after physical damage to the
higher centers of the brain—is frequently found in tardive dyskinesia.
One-half or more of trdive dyskinesia patients deny the existence or
severity of their involuniary movements (Breggin, 1983a, pp. 115-117:
DeVeaugh-Geiss, 1979: Myslobodsky. 1986). Some tardive dyskinesia
victims will be able to identify symptoms of the disease in other patients
but not in themselves (Smith. Kuchorski, Oswald. & Waterman. 1979).
Anosognosia is said to be usually associated with damage to the parietal.
nondominant hemisphere. However, paticnts with generalized brain dis-
ease. such as neurosyphilis and chronic alcoholism or Korsakoff"s syn-
drome. will often deny their impairments and confubulate. My experience
coincides with that of Fisher (1989) who states that anosagnosia ““may
qualify as one of the general rules of cerebral dysfunction” (p. £28).

The presence of anosognosia in tardive dyskinesia patients tends to
confirm the existence of generalized cerebral dysfunction. It can be diffi-

 
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cult. however. to distinguish anosognosia from the indifference or disin-
icrest produced by neuroleptic treatment.

in the literature on LE. no references to anosognosia have been lo-
cated. The specific symptom was probably obscured by the generalized
apathy displayed by so many of the patients.

Deactivation and the Frontal Lobe Syndronwe

von Economo (1931) and other observers noted that many LE patients
lapsed into chronic apathy or indifference. often in association with Par-
kinsonian psychomotor retardation. This chronic deactivation is ulso
common among tardive dyskinesia patients. Myslobodsky (1986) points
out thal many observers have wondered why so many tardive dyskinesia
patients ‘develop signs of emotional indifference’ and that no satisfac-
tory explanation has been forthcoming. As already noted. Van Putten
and May (1978) and Van Putten ct al. (1980) have described the apathy
that is characteristic of many long-term neuroleptic patients. These out-
comes are probably best understood as a sometimes irreversible deactiva-
tion, compounded with anosognosia.

Deactivation can result from dysfunction in either the frontal lobes and
limbic system (as an aspect of frontal lobe syndrome) or the basal gangtia
tas an aspect of subcortical dementia). Adams and Victor (1989) divide
the manifestations of frontal lobe syndrome into (1) cognitive and intellec-
tual changes, such as loss of abstract reasoning and planning. (2) person-
ality deterioration, and (3) ‘impairment or lack of initiative and spontane-
ity’ (p. 333) or deactivation. which they call the most common effect of
frontal lobe disease. Stuss and Benson (1986, 1987) ascribe two basic
functions to the anterior portion of the frontal lobes: “"sequence, set. and
integration.’ and “‘drive. motivation, and will” (1986. p. 241}. The “*most
common alteration is apathy’’ (p. 242). The activation function appears
to depend upon medial frontal structures.

Much of what we Know about the frontal lobe syndrome comes from
studying the effects of psychosurgery, whose primary clinical effect is
the production of deactivation or what Kalinowsky (1973. p. 20) called
“diminished concern.”” Anosognasia is also common in postpsychosur-
gery patients who frequently deny they have been operated on. despite
the evidence of surgical scars or burr holes (Breggin, 1981}. My clinical
experience indicates that most elements of the frontal Jobe syndrome,
including deactivation. are also produced by stereotactic procedures.
such as cingulotomy, amygdalotomy. and thalamotomy, that impair the
limbic system.

As already described. pioneers in the use of neuroleptics almost uni-
formly cited deactivation as the main clinical effect of neuroleptics (see
above). Because of this. clinicians often referred to the neuroleptics us a

 
 

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chemical lobotomy (Haase. 1959, p. 206). Bleuler (1979) observed that
long-term neuroleptic use “‘also often dampens the vitality and the initia-
tive of the person” (p. 301). He concluded. “So we see that long-term
maintenance with neuroleptics is fraught with some of the same disadvan-
inves that are ascribed to lobotamies”” (p. 3011.

Although there is little direct evidence. it is probably as Bleuler sug-
gests, that long-term exposure to neuroleptics cun produce an irreversible
frontal lobe syndrome with deactivation. The syndrome would seem an
inevitable consequence of the permanent dysfunction of dopaminergic
neurons that frequently results from neuroleptic treatment (see below).
Some of these neurons (from the ventral tegmentum) project to the limbic
system and frontal lobes. Others (from the substantia nigra) project Lo
ithe striatum where they also interconnect with the limbic system as well
as with the reticular activating system (Alheid, Heimer, & Switzer, 1990).

Psychasis

Somewhat infrequently. postencephalitic patients developed schizo-
phrenic-like psychoses. including confusion. hallucinations. and delu-
sions (Brill, 1959). As discussed earlier. the syndrome was relatively easy
to distiguish from schizophrenia.

Neuroleptic-treated patients have been reported to develop tardive
psychoses (Jones. 1985: Chouinard. Jones. & Annable. 1978). I have
noted these reactions on occasion when a patient quickly decompensates
during the process of withdrawing from neureleptics. These psychoses
can sometimes be distinguished from the paticnts” premedication psy-
chotic disorder which tends to return. if at all. several months after drug
withdrawal. At present, tardive dementia is probably a more clearly dis-
cernable syndrome than tardive psychosis.

ACUTE ENCEPHALITIS AND THE NEUROLEPTIC
MALIGNANT SYNDROME

Attention has been increasingly focused on an especially severe reac-
tion. NMS. which occurs in a small percentage of neuroleptic-treated
patients. A review of 24 episodes of NMS in 20 patients by Rosebush
and Sicwurt (1989) found that most cases fit the following cluster of symp-
toms: delirium. a high fever with diaphoresis, unstuble cardiovascular
signs. an elevated respiratory rate. and an array of dyskinesias. including
tremors. rigidity. dystonia, and chorea.

Patients spoke little during the acute illness and later reported that they
had found themselves unable to express their anxiety and feelings of
doom. Almost all patients were agitated shortly before developing NMS,
sugecsting to the authors that they were undergoing akathisia. The white
bload cell count was elevated in all cases, dehydration was common. and
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lab tests showed a broad spectrum of enzymatic abnormalities. While
this series had no deaths, the authors note that 20-30%. of untreated cases
reportedly die. This mortality rate corresponds with that of LE.

There seems to be nothing about acute NMS to distinguish it from an
acule, severe episode of LE, except for the fact of antecedent neuroleptic
therapy. AHhough Rosebush and Stewart provide insufficient data to
draw exact parallels. their NMS patients also suffered similar chronic
impairments to those reported in LE patients. Of the 20 patients. 14
continued to have ‘‘extrapyramidal symptoms or mild abnormalities of
vital signs and muscle enzymes at the time of discharge” (p. 721): but
we are nol told how many of the [4 specifically bad persistent extrapy-
ramidal signs. In a striking parallel with LE. three patients dispkiyed
persistent Parkinsonian symptoms until they were lost to follow up. One
patient. who hud mild cognitive impairment prior to NMS. developed a
persistent worsening of her dementia.

Recognition of the similarities between acute LE, severe LE, und NMS
can help us in evaluating cases of NMS, sharpening awareness of possible
persistent sequelae. The parallels may someday help elucidate the mecha-
nisms of both.

LE AND NEUROLEPTIC IMPACT ON THE BASAL GANGLIA

While LE afflicted wl] regtons of the brain. including the frontal cortex.
there was consisient agreement that the most marked pathology wus lo-
cated in the basal ganglia and especially the substantia nigra (von Eco-
nome. 193: Brill, 1959: Ward. 1986). According to Brill (1959). “The
involvement of the substantia nigra is outstanding and may be seen by
inspection, even in gross freshly cut specimens” (p. 1165).

There is also general agreement that the basal gangliz are most dirccily
affected by the neuroleptics. As Thacker. Ferraro. Hare & Tamminga
(1988) summarize. ‘basic research suggests that .. . al] mammalian brains
treated chronically with neuroleptic drugs develop DA [dopamine] recep-
tor supersensitivity in the striatum’” (p. 199) (also see Rupniak, Jenner.
& Marsden, [983). These striatal changes are due. at least in part. 10 the
suppression or inactivation of dopaminergic neurons originating in the
substantia nigra (White and Wang, 1983).

While there is a consensus that the neuroleptics impair neurotransmis-
sion in the basal ganglia, the nature and existence of related neuroepatho-
logical lesions remain fess certain. Cadet and Lohr (1989) review a variety
of physiological changes in ncuroleptic-treated animals, as well us post-
moriem anatomical changes in tardive dyskinesia patients. They con-
clude. ‘*We agree with the suggestion that these drugs may be responsible
for degenerative changes in the basal ganelia . . .” (p. 181: see also
Breggin. 1983a). Those few postmortem studies of tardive dyskinesii pa-
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tients that are available usually show increased degeneration in the sub-
stantia nigra (Roizin, True, & Knight, 1959; Hunter, Blackwood, Smith,
& Cumings. 1968; Christensen, Moller, & Faurbye, 1970; Jellinger, 1977).
Other postmortem studies of schizophrenic patients have found increased
dopamine receptor density in the basal ganglia (caudate and putamen)
(reviewed in Hyde, Casanova. Kleinman. & Weinberger. 1991). Nearly
all of these patients had been exposed to neuroleptics.

Another review (Breggin, 1990, pp. 447-450) focused on animals ex-
posed to neuroleptic treatment and found consistent reports of basal gan-
glia pathology after several weeks or months. For example. Neilsen and
Lyon (1978) documented cellular loss in the striatum of rats after 36
weeks and concluded ‘‘The results further suggest that persistent irre-
versible anatomical changes can follow long-term neuroleptic treatment"
(p. 85). Pakkenberg. Fog and Nilakantan (1973) found basal ganglia de-
gencration in rats after { year of drug exposure.

Brain scan studies (CT and magnetic resonance imaging) of tardive
dyskinesia patients have disclosed neuropathology. sometimes in the
basal ganglia (Bartels & Themelis. 1983; Besson. Corrigan. Cherryman,
& Smith. 1987). However, no consistent pattern has emerged from the
Hmited aumber of studies (Rama Krishnan, Ellinwood. & Rayasam. 1988.
p. 173).

Yahr (1989) observed that the dementia assuciated with Parkinsonism
probably requires mesocortical, as well as striatal. dopamine deficits.
Neuroleptic-induced dopamine depletion also afflicts both the nigrostria-
tal and the mesocortical or limbic projections. probably contributing to
the production of both tardive dyskinesia and turdive dementia. Jenner
and Marsden (1983, p. 234). for example. found that cerebral dopamine
receptors became hyperactive alter 6~12 months of continuous neurolep-
tic administration in rats and that the overactivity is associated with the
development of abnormal behaviors.*

Gualtieri and Barnhill (1988) conclude that tardive dyskinesia is associ-
ated with dementia. and that the source of both problems. as is the case
with Parkinson's discase and Huntington’s chorea. is most likely lesions
in the basal ganglia.

DISCUSSION

Probably because of their commen impact on the basal ganglia, neuro-
leptic effects parallel many of the core symptoms reported in LE. In the
acute phase, both produce a deactivation continuum from indifference to

* Although the permanence of most cases of tardive dyskinesia points to a corresponding
irreversible hyperactivity of dopamine receptors, it has not been demonstrated in the anim
brain. However, animals are also less prone to develop tardive dyskinesin. and may there-
fore he fess susceptible than humans to persistent receptor changes.

 
